                                                             The Motion (Doc. No. 527) is granted.
                                                             IT IS SO ORDERED.



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                                       )
                                                               )
                                                               )
V.                                                             ) CASE NO.: 3:21-CR-00171
FADEL ALSHALABI                                                ) JUDGE RICHARDSON

       DEFENDANT ALSHALABI’S UNOPPPSED MOTION FOR ADDITIONAL
            EXTENSION OF TIME TO FILE POST-TRIAL MOTIONS

       Fadel Alshalabi, through his counsel, moves this Court for an additional extension of time

to file post-trial motions pursuant to Federal Rules of Criminal Procedure 29 and 33. In support

of this motion, defendant states:

       Following an eight-weeks just trial, a jury convicted defendants on varying counts of the

Second Superseding Indictment. Following the discharge of a jury, a defendant has fourteen days

to file a motion for judgment of acquittal or motion for a new trial. Defendants filed an unopposed

joint motion to extend that deadline to December 31, 2024 and the Court granted that motion.

       Defendant Alshalabi has had some financial difficulties raising money for the transcripts

necessary to support arguments for the motions and needs some additional time to order those

transcripts and assess which ones are necessary for the motions. In addition, it is necessary to have

those transcripts to fully research and brief all the issues with that support. Undersigned has begun

that process and is in contact with the court reporting parties at the time of filing this motion.

       Defendant Alshalabi needs an additional three weeks from December 31, 2024 to order the

transcripts and complete the motions.

       Counsel for Defendant Harris and counsel for the Government were contacted and this

motion is unopposed.




 Case 3:21-cr-00171         Document 529        Filed 01/02/25       Page 1 of 1 PageID #: 4121
